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 6    SHAHID BUTTAR

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 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
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11    SHAHID BUTTAR FOR CONGRESS                       CASE NO. 3:21-cv-05566-EMC
      COMMITTEE and SHAHID BUTTAR, an
12    individual;
                                                       PLAINTIFFS’ OBJECTIONS TO
13                        Plaintiffs,                           DEFENDANTS’ REPLY
                                                                EVIDENCE
14             vs.
                                                        Hearing Date: Apr. 6, 2023, 1:30 pm
15    HEARST COMMUNICATIONS, INC., a
      Delaware corporation; and DOES 1
16    through 5;                                       JUDGE: Hon. Edward M. Chen

17                        Defendants.                  COURTROOM: 5 – 17th Floor

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19   I.       Introduction
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              Plaintiffs Shahid Buttar for Congress Committee and Shahid Buttar object to Defendant
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     Hearst Communications, Inc’s improper reply evidence, proffered by way of the Mar. 23, 2023
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     Declaration of Diego Ibarguen (Dkt. 76, “Ibarguen Declaration”).
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24   II.      Legal Analysis

25            Paragraphs 3 through 6 of the Ibarguen Declaration must be disregarded, for they

26   improperly and belatedly proffer evidence that Hearst could and should have proffered in its Mar.
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     2, 2023 Moving Papers. “The reply brief is not intended to be the brief that shows for the first
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                                                                         OBJECTIONS TO REPLY EVIDENCE
         Case 3:21-cv-05566-EMC Document 77 Filed 03/30/23 Page 2 of 3



 1   time the movant’s evidentiary support for the relief sought in the movant’s opening brief. 1
 2   Indeed, the Court has excluded a reply declaration because it “contain[ed] new evidence … that
 3
     could have been included with … [the opening] motion.” 2
 4
            Here, Paragraphs 3 through 6 of the Ibarguen Declaration improperly and belatedly
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     proffer evidence (i.e., purported background information on billing) that could and should have
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 7   been included with its Moving Papers. There is no reason why such evidence could not have

 8   been presented as part of Hearst’s Moving Papers.

 9   III.   Conclusion
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            Accordingly, Paragraphs 3 through 6 of the Ibarguen Declaration, as well as any part of
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     Hearst’s papers relying on such barred evidence, must be summarily disregarded. Instead of
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     improperly and belatedly proffering reply evidence, Hearst would have been better served had its
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     counsel addressed an apposite case that was quoted by this Court: Sanchez v. Law Office of
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15   Armo, which barred anti-SLAPP-based attorney’s fees from being imposed in connection with a

16   plaintiff’s original, un-amended complaint. 3
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             Mercado v. Sandoval, Inc., No. 2:08-cv-02648-GEB-EF, 2009 WL 2031715, at *1 (E.D.
22   Cal. July 9, 2009) (italics added).
     2
             In re Lenovo Adware Litig., No. 15-MD-02624-RMW, 2016 WL 6277245, at *14 (N.D.
23   Cal. Oct. 27, 2016) (italics added); see also Provenz v. Miller, 102 F.3d 1478, 1483 (9th Cir.
     1996).
24   3
             “Since Defendant’s anti-SLAPP motion is being considered in federal court, and since the
     Ninth Circuit requires that Plaintiff be given an opportunity to amend her complaint, see Verizon
25   [Del., Inc. v. Covad Communications Co.], 377 F.3d [1081,] 1091 [9th Cir. 2004], the granting in
26   part of Defendants’ motion is considered a “technical victory” that does not warrant an award of
     attorney’s fees to Defendant as the prevailing party. See Brown [v. Elec. Arts, Inc.], 722
27   F.Supp.2d [1148,] 1156-57 [C.D. Cal. 2010].” Sanchez v. Law Office of Armo, No. 1:20-cv-
     00163-NONE-SKO, 2021 WL 1214559, at *18 (italics added) (quoted by Apr. 25, 2022 Order
28   Granting Motion to Dismiss [Dkt. 39], at 20:24-21:3).
                                                                  OBJECTIONS TO REPLY EVIDENCE
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      Case 3:21-cv-05566-EMC Document 77 Filed 03/30/23 Page 3 of 3



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     DATED: Mar. 30, 2023
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 3                                            BUSINESS, ENERGY, AND ELECTION

 4                                            LAW, PC

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                                              COMMITTEE and SHAHID BUTTAR
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                                                       OBJECTIONS TO REPLY EVIDENCE
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